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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    LINDA C. ALLISON, #179741
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814
     Linda_allison@fd.org
5
     Attorney for Defendant
6    DONTE ROBINS
7
8
                              IN THE UNITED STATES DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                       )     NO. 2:18-cr-00024-GEB
12                                                   )
                           Plaintiff,                )     STIPULATION AND [PROPOSED] ORDER
13                                                   )     TO CONTINUE STATUS CONFERENCE
            v.                                       )
14                                                   )     DATE:        June 1, 2018
     DONTE ROBINS, et al.,                           )     TIME:        9:00 a.m.
15                                                   )     JUDGE:       Hon. Garland E. Burrell, Jr.
                           Defendants.               )
16                                                   )
                                                     )
17
18          IT IS HEREBY STIPULATED between the parties through their respective counsel,
19   Assistant United States Attorney TIMOTHY DELGADO, Assistant Federal Defender LINDA C.
20   ALLISON, attorney for DONTE ROBINS, ETAN ZAITSU, attorney for JOSHUA
21   MARKANSON, that the status conference currently set for June 1, 2018, be vacated and
22   continued to August 24, 2018, at 9:00 a.m.
23          The parties further stipulate and agree that the time from the date of this stipulation, May
24   22, 2018 through August 24, 2018 should be excluded from the time calculations under the
25   Speedy Trial Act. 18 U.S.C. § 3161.
26          Defense counsel Linda Allison will be out of the office from late May through July. All
27   parties will need additional time to review the discovery and conduct an investigation. The
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1    parties therefore stipulate that the ends of justice are served by the Court excluding such time, so
2    that counsel for the defendants may have reasonable time necessary for effective preparation,
3    taking into account the exercise of due diligence. 18 U.S.C. §3161(h)(7)(A) and (B)(iv)
4    [reasonable time to prepare] and Local Code T-4.
5            For all of these reasons, the parties stipulate and agree to exclude time from the date of
6    this stipulation May 22, 2018 to August 24, 2018 under the Speedy Trial Act (18 U.S.C. § 3161)
7    and the Local Rules.
8    Dated: May 22, 2018                                    Respectfully submitted,
9
                                                            HEATHER E. WILLIAMS
10                                                          Federal Defender
11                                                          /s/ Linda C. Allison
                                                            LINDA C. ALLISON
12                                                          Assistant Federal Defender
                                                            Attorney for Defendant
13                                                          DONTE ROBINS
14
     Dated: May 22, 2018                                    /s/ Etan Zaitsu
15                                                          ETAN ZAITSU
                                                            Attorney for JOSHUA MARKANSON
16
17
18   Dated: May 22, 2018                                    McGREGOR W. SCOTT
                                                            United States Attorney
19
20                                                          /s/ Linda C. Allison for
                                                            TIMOTHY DELGADO
21                                                          Assistant United States Attorney
22   ///
23   ///
24   //
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1                                                 ORDER
2           IT IS HEREBY ORDERED that the status conference hearing set for June 1, 2018 at
3    9:00 a.m. be vacated and continued to August 24, 2018 at 9:00 a.m.
4           For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,
5    within which trial must commence, the time period from the date of this order though August 24,
6    2018, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(1)(D), (h)(7)(A), (B)(iv)
7    and Local Code T4 because it results from a continuance granted by the Court at both parties’
8    request on the basis of the Court’s finding that the ends of justice served by taking such action
9    outweigh the best interest of the public and the defendant in a speedy trial.
10   Dated: May 24, 2018
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